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13   Attorneys for Plaintiff Ashley Parham

14
15                        UNITED STATES DISTRICT COURT FOR THE

16                          NORTHERN DISTRICT OF CALIFORNIA

17
     ASHLEY PARHAM,                            )
18
                                               )             Case No.: 24-cv-07191-RFL
19
                   Plaintiff,                  )
20
                                               )
21
     v.                                        )             CASE MANAGEMENT
22
                                               )             STATEMENT
23
     SEAN COMBS a/k/a                          )
24
     <P. Diddy,= <Puff Daddy,= <Love,=         )
25
     <Puffy= and <Diddy,=                      )
26
     Kristina Khorram,                         )
27
     Shane Pearce,                             )
28
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1    John Does 1-3 and                              )
2    Jane Doe,                                      )
3                           Defendants.
4
            Plaintiff to the above-entitled action submits this CASE MANAGEMENT STATEMENT
5
     & PROPOSED ORDER pursuant to the Standing Order for All Judges of the Northern District
6
     of California and Civil Local Rule 16-9.
7
     1.     Jurisdiction & Service
8
     This Court has subject matter jurisdiction in this case under Diversity jurisdiction because none
9
     of the Plaintiffs live in the same state as any of the Defendants AND the amount of damages is
10
     more than $75,000.00.
11
     2.     Service
12
     At this time none of the Defendants have been served mainly because Plaintiff has been
13
     conducting further investigation which has led to information that will require Plaintiff to amend
14
     its complaint.
15
     3.     Facts
16
     This case is regarding a brutal sexual assault and abuse via drugging and gang rape engaged in
17
     by Defendants. This case is also about the conspiracy of the Defendants to engage in the rape and
18
     drugging of the Plaintiff.
19
     4.     Legal Issues
20
     The Legal issues in this case include RICO, sexual battery, sexual assault, sexual harassment,
21
     battery, assault, negligence, intentional and negligent infliction of emotional distress, unjust
22
     enrichment, aiding and abetting, trafficking and victims protection act, inducing a sex trafficking
23
     venture, knowing beneficiary in a sex trafficking venture, obstruction of the enforcement of the
24
     trafficking victim protection act and false imprisonment.
25
     5.     Motions
26    There are no current or pending Motions. Plaintiff has received a proposed Motion for Rule 11
27    Sanctions from Defendant Khorram despite Defendant not being served at this time.
28
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1    6.     Amendment of Pleadings
2    Plaintiff intends to amend its pleadings on or by February 14, 2025.
3    7.     Evidence Preservation
4    Plaintiff certifies it has reviewed the Guidelines Relating to the Discovery of Electronically
5    Stored Information (<ESI Guidelines=), and parties have yet to meet and confer

6    pursuant to Fed. R. Civ. P. 26(f) regarding reasonable and proportionate steps taken to preserve

7    evidence relevant to the issues reasonably evident in this action.

8    8.     Disclosures

9    Parties have not yet sent each other Initial Disclosures, but agree to exchange them soon after

10   the amended complaint is filed.
11
     9.     Discovery
12
     To date parties have not exchanged any discovery. Plaintiff believes discovery will be significant
13
     given the number of Defendants and the claims enumerated in the Complaint. At this time there
14
     are not any proposed limitations or modifications of the discovery rules. Parties have not yet
15
     agreed but will consider entering a stipulated e-discovery order and proposed discovery plan
16
     once the Complaint is amended and Defendants are served. At this time no discovery disputes
17
     are known.
18
19   10.    Class Actions
20   Not applicable.
21   11.    Related Cases
22
     Plaintiff is not aware of any related cases.
23
24   12.    Relief

25   Plaintiff seeks monetary damages approximately of $50,000,000.00. That amount was calculated

26   based on the damage inflicted on Plaintiff and the necessary treatment for Plaintiff for her life.

27   At this time there are no counterclaims from Defendant.

28
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1    13.     Settlement and ADR
2    Plaintiff is open to the prospects of Settlement, but it does not seem Defendants share that same
3    sentiment.
4    14.     Consent to have a Magistrate Judge Hear the Case
5    Plaintiff consents to a magistrate judge for all pre-trial matters.

6    15.     Other References

7    Not Applicable.

8    16.     Narrowing of Issues

9    Not Applicable.

10   17.     Expedited Trial Procedure

11   Not Applicable.

12   18.     Scheduling

13   Plaintiff agrees to have Court set deadlines.
14
     19.     Trial
15
16   This case will be tried by a jury. The trial is expected to last seven (7) days.
17
     20.     Disclosure of Non-party Interested Entities or Persons
18
     None.
19
     21.     Other
20
     None.
21
22                                     CERTIFICATE OF SERVICE

23
     I hereby certify that a true and correct copy of the foregoing was electronically filed via Pacer
24   and served by the Clerk9s maintained website via e-service to all parties of record.
25
26
27
28
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